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            IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

                           CIVIL NO. 3:08CV330-T-02
                                (3:01CR11-01-T)


PHILLIP MARK VAUGHAN,                       )
                                            )
             Petitioner,                    )
                                            )
      vs.                                   )     MEMORANDUM AND
                                            )     ORDER OF DISMISSAL
UNITED STATES OF AMERICA,                   )
                                            )
         Respondent.                        )
______________________________              )


      THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255, filed July 14,

2008. No response is necessary from the Government.

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge shall
      make an order for its summary dismissal and cause the movant
      to be notified.



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Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the recent record of

criminal proceedings, enters summary dismissal for the reasons stated

herein.



                        I. PROCEDURAL HISTORY

      Petitioner and four co-Defendants were charged in a superseding

indictment with conspiracy to engage in mail, wire, bank and securities

fraud, all in violation of 18 U.S.C. § 371 (Count One); wire fraud and aiding

and abetting that offense, in violation of 18 U.S.C. §§ 1343 and 2 (Counts

Two through Eight); mail fraud and aiding and abetting that offense, in

violation of 18 U.S.C. §§ 1341 and 2 (Counts Nine through Thirteen);

conspiracy to launder money by engaging in domestic transactions to

promote his fraud scheme, to engage in tax fraud or to evade and conceal

the proceeds of his fraud, in violation of 18 U.S.C. § 1956(h) (Count

Fourteen); money laundering and aiding and abetting that offense, in

violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 2 (Counts Fifteen through

Twenty-Three) and §§ 1956(a)(1)(B)(i) and 2 (Counts Twenty-Four through

Twenty-Nine); aiding and abetting money laundering for the purpose of




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income tax evasion, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 2

(Counts Thirty through Thirty-Five); and aiding and abetting the actual or

attempted transportation, transmission or transfer of money out of the

United States, in violation of 18 U.S.C. §§ 1956(a)(2)(A) and 2 (Count

Thirty-Six and Thirty-Seven). Second Superseding Bill of Indictment,

filed May 10, 2001.

      Petitioner entered into a written plea agreement with the Government

whereby he agreed to plead guilty to Counts One, Fourteen, Thirty-Three,

Thirty-Four and Thirty-Seven of the superseding indictment in exchange for

the Government’s promise to, inter alia, forego prosecution of Petitioner’s

wife, stepmother and brother. Plea Agreement, filed June 14, 2001.

Petitioner’s plea agreement also contains his stipulations that the value of

the funds involved in Counts Fourteen through Thirty-Seven “was more than

$35,000,000 and was not more than $60,000,000; and that he was subject

to enhancements for the value of the funds, his managerial role in the

offense and his abuse of his position of trust, thereby increasing his

adjusted offense level to 40. Id. at 1-2. Additionally, the plea agreement

contains a waiver by which Petitioner forfeited his right to contest his




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conviction or sentence in any proceeding on any grounds, except ineffective

assistance of counsel or prosecutorial misconduct. Id. at 4.

      On June 14, 2001, Petitioner appeared with counsel before the

Magistrate Judge and formally entered his guilty pleas. During that

proceeding, the Magistrate Judge engaged Petitioner in the standard,

lengthy plea colloquy pursuant to Rule 11 to ensure that his guilty pleas

were knowingly and voluntarily made and entered. Transcript of Rule 11

Hearing, filed March 17, 2003. Based on the answers given by Petitioner,

the Magistrate Judge found that his guilty pleas were knowingly and

voluntarily made and that he understood the charges, penalties and

consequences of his pleas. Id. at 27-28. Accordingly, the Magistrate Judge

accepted Petitioner’s guilty pleas. Id. at 28.

      On April 17, 2003, the Government filed a sentencing memorandum

wherein it agreed not to oppose a three-level reduction under U.S. S.G. §

3E1.1 for Petitioner’s reluctant acceptance of responsibility. Sentencing

Memorandum, filed April 17, 2003, at 17. Further, the Government’s

memorandum recommended a downward departure under § 5K1.1 of “no

more than one level” because it deemed Petitioner’s assistance to have

been only “[a]rguably substantial.” Id. at 16-17. Consequently, the




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Government recommended that Petitioner be sentenced to a term of 235

months imprisonment. Id. at 17.

     On April 25, 2003, Petitioner filed his own sentencing memorandum.

Defendant Phillip Mark Vaughan’s Sentencing Memorandum, filed

April 25, 2003. Petitioner’s memorandum asked the Court to grant him

both the three-level reduction under § 3E1.1 and a more significant

downward departure than the one-level reduction recommended by the

Government. Id. at 8.

     On April 29, 2003, the undersigned conducted a factual basis and

sentencing hearing. After hearing from the parties, the Court sentenced

Petitioner to a term of 60 months imprisonment on Count One and to a

consecutive term of 160 months on Counts Fourteen, Thirty-Three, Thirty-

Four and Thirty-Seven, for a total of 220 months imprisonment. Judgment

in a Criminal Case, filed May 8, 2003. The Government dismissed the

remaining charges which were pending against Petitioner. Id.

     Petitioner did not appeal his conviction or sentence; therefore, his

Judgment became final ten (10) days after entry thereof. See Fed. R. App.

P. 4(b)(3)(A). Now, after a lapse of over five years, Petitioner has returned




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to this Court with his motion to vacate. However, it is clear from the record

that Petitioner’s motion is untimely.



                         II. STANDARD OF REVIEW

      Title 28 U.S.C. § 2255 provides in pertinent part:

      A 1-year period of limitation applies to a motion under this
      section. The limitation period shall run from the latest of-
             1) the date on which the judgment of conviction becomes
      final;

            2) the date on which the impediment to making a motion
      created by governmental action in violation of the Constitution or
      laws of the United States is removed, if the movant was
      prevented from making a motion by such governmental action;

            3) the date on which the right asserted was initially
      recognized by the Supreme Court, if that right has been newly
      recognized by the Supreme Court and made retroactively
      applicable to cases on collateral review; or

            4) the date on which the facts supporting the claim or
      claims presented could have been discovered through the
      exercise of due diligence.

28 U.S.C. § 2255.




                               III. DISCUSSION

      As previously noted, Petitioner’s Judgment was filed on May 8, 2003,

and he did not appeal his conviction or sentence. Therefore, Petitioner’s



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Judgment became final on May 22, 2003. See Fed. R. App. P. 4(b)

(providing 10-day appeal period for criminal judgments); United States

v. Wilson, 256 F.3d 217, 221 (4 th Cir. 2001) (noting that pursuant to Rule

4(b), an unappealed judgment becomes final ten days after its entry).

Because Petitioner did not file his § 2255 motion until July 14, 2008, it was

filed well outside the one-year statute of limitations period and is, therefore,

untimely.

      Petitioner argues that his claim should not be time-barred because the

one year limitation period began to run from June 2, 2008, that is, the date

on which the Supreme Court announced its decision in United States v.

Santos, 128 S. Ct. 2020 (2008), wherein the Court modified the definition of

money laundering under 18 U.S.C. § 1956-(a)(1)(A)(i).1 See Motion to

Vacate, at 16. More specifically, Petitioner claims that the Supreme Court’s

decision in Santos changes the definition of the term “proceeds” as used in

the money laundering context to exclude expenses which were incurred in

the operation of an illegal scheme. Id. Petitioner, therefore, argues that


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  Title 18 U.S.C. § 1956(a)(1)(A)(i) provides that one who knowingly
conducts or attempts to conduct a financial transaction using the
“proceeds” from a specified illegal activity in an attempt to promote that
specified illegal activity is guilty of money laundering.



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because all of the money which his activities generated was used to pay for

those activities, there were no profits and, therefore, there was no basis for

his money laundering charges. Id. at 17.

      Even assuming Petitioner’s reading of Santos is accurate, the

Supreme Court did not rule that its holding could be retroactively applied in

collateral proceedings or otherwise. In fact, in his dissent, Justice Breyer

found the majority opinion’s modified statutory interpretation untenable and

suggested that other solutions, which could be enacted retroactively, would

be preferable. Santos, 128 S. Ct. 2020, 2035. Consequently, because it is

clear that the new definition of “proceeds” as announced in Santos “does

not rise to the level of a watershed rule of criminal procedure which ‘alter[s]

our understanding of the bedrock elements essential to the fairness of a

proceeding,’” that case cannot be retroactively applied in this proceeding.

United States v. Sanders, 247 F.3d 139, 151 (4 th Cir. 2001) (quoting

Sawyer v. Smith, 497 U.S. 227, 242 (1990)) (explaining why a particular

Supreme Court case announcing a new rule could not be retroactively

applied on collateral review). More significantly, therefore, the Santos

decision cannot be relied upon as a means for restarting Petitioner’s one-

year limitations period.




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     To put it simply, Petitioner’s conviction and sentence were final on

May 22, 2003, and the statutory limitation period began running from that

date, not after the recent Supreme Court case was announced. Therefore,

Petitioner’s § 2255 Motion is untimely and must be dismissed. See United

States v. Hardy, 156 F. App’x 568 (4 th Cir. 2005) (affirming dismissal of

time-barred § 2255 motion).




                                IV. ORDER

     IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate, set

aside or correct sentence under 28 U.S.C. § 2255 is hereby DISMISSED

WITH PREJUDICE as time-barred.

                                      Signed: July 25, 2008




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